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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                 Case No. 1:21-cr-00145-BLW
                Plaintiff,
          vs.                                    GOVERNMENT'S SENTENCING
                                                 MEMORANDUM
 ERIK KONRAD EHRLIN,

                Defendant.


       The Defendant is a radicalized extremist that threatened and assaulted a U.S. Forest

Service (USFS) Agent while in possession of firearms, items to impersonate a police officer, and

rounds of high-caliber ammunition with the names of targets written on individual bullets. The

Government recommends the Court sentence the Defendant to a term of imprisonment of 115

months.

                  NATURE AND CIRCUMSTANCES OF THE OFFENSE

       In March and April of 2021, the USFS investigated a series of vandalism incidents where

an individual marked Forest Service signs and property with markers and spray paint. The




GOVERNMENT’S SENTENCING MEMORANDUM - 1
vandalism contained the emblem “SAI,” which purported to stand for the Sovereign Alliance of

Idaho.




         The vandalism also contained threats to shoot federal employees.




GOVERNMENT’S SENTENCING MEMORANDUM - 2
       Investigators developed a lead on a possible suspect when a witness in the Mann Creek

area observed a freshly fallen tree while on a hike. When returning, the witness observed the tree

had been spray painted with the letters SAI and “Do Not Enter.” There was similar insignia and

paint on adjacent snow. The witness had only observed one individual in the immediate vicinity.

The witness provided a report of the vandalism and a description of the individual to law

enforcement.

       USFS Special Agent Amy Harvey (SA Harvey) located an unoccupied camp trailer in the

Mann Creek area that was registered to Ehrlin. The physical description from the witness

matched the information for Ehrlin contained in an Idaho database. Idaho Fish and Game also

reported two separate contacts with Ehrlin in the general area and provided information about a

vehicle Ehrlin was associated with, a gray Nissan pickup. A criminal history check revealed

Ehrlin is a convicted felon.



GOVERNMENT’S SENTENCING MEMORANDUM - 3
       Other individuals in the area reported seeing a male that matched the description of

Ehrlin and his trailer in multiple locations where graffiti was later discovered. On April 14,

2021, SA Harvey recovered a “Spartan Armor” cardboard box with numerous mid to large

caliber bullet holes. The target had been left in a camp area near Mann Creek. Other campers

present at the location indicated an individual similar in description to Ehrlin had been camping

there prior to their arrival. The backside of the box contained neon pink spray paint forming a

circular target and bullseye pattern. The paint was similar in color to graffiti in the surrounding

area. Expended 9mm and .22 long rifle caliber shell casings were recovered in the same location.

       SA Harvey also located a paper plate that appeared to have been left as a directional

marker. The name “NATASHA” was written on the paper plate in black marker and the

handwriting appeared similar to that left on one of the tagged signs. Further investigation

revealed Ehrlin is in a relationship with a woman named Natasha.

                                   Contact on April 30, 2021

       On the afternoon of April 30, 2021, SA Harvey and a Washington County Sheriff’s

Deputy (the Deputy) contacted Ehrlin at a campsite off Forest Service Road 19 in the Upper

Mann Creek Recreation area. As the Deputy arrived at the site, he observed Ehrlin walk behind

a camper while carrying a child in backpack. In the space underneath the trailer, the Deputy

observed a semi-automatic rifle fall to the ground and Ehrlin pick the rifle back up. Ehrlin then

emerged from behind the camper, now carrying the child in his arms. SA Harvey and the

Deputy contacted Ehrlin and Ehrlin’s mother and briefly talked about the graffiti in the area. SA

Harvey then asked to speak with Ehrlin away from his mother and child to address the potential

federal firearm violation. When asked, Ehrlin denied being “Erik Ehrlin” and SA Harvey

requested he retrieve his identification. Ehrlin stated his wallet was in his vehicle and walked



GOVERNMENT’S SENTENCING MEMORANDUM - 4
                                                 behind the camper. SA Harvey followed.

                                                 Ehrlin briefly stepped towards his camper

                                                 where a rifle was located. However, upon

                                                 observing the Deputy walk around the opposite

                                                 side of the camper, Ehrlin continued past the

                                                 rifle. The deputy located the rifle depicted

                                                 above, then leaning up against the camper. The

                                                 Deputy asked if he could clear the rifle and

                                                 Ehrlin replied, “it’s not loaded.” The Deputy

picked the rifle up and removed a loaded magazine. There was not a round in the chamber,

however.

       Around this time, Ehrlin handed his child off to his mother, then walked over to his

pickup truck. Ehrlin opened the door and appeared to be reaching low, near the front driver’s




GOVERNMENT’S SENTENCING MEMORANDUM - 5
seat. Ehrlin then entered the truck and locked the door. SA Harvey attempted to open the door

and told Ehrlin to stop. Ehrlin looked directly at SA Harvey.


                                                                        Next, Ehrlin accelerated

                                                                while in reverse, striking SA

                                                                Harvey with his sideview mirror

                                                                on SA Harvey’s ballistic vest and

                                                                body camera. The screen captures

                                                                here, from the Deputy’s body

                                                                camera, shows SA Harvey directly

                                                                in the line of travel of the truck’s

                                                                tire.

       As Ehrlin began to flee, SA Harvey fired three rounds into the truck’s front right tire,

puncturing it and causing it to deflate. Ehrlin was ordered out of his vehicle at gunpoint and

arrested. Incident to Ehrlin’s arrest, the Deputy searched Ehrlin’s person. In Ehrlin’s pants

pocket, the Deputy located a Boise Police badge. Ehrlin claimed he and his mother had found

the badge while out hiking. The badge was not weathered, either on the shield or leather. Ehrlin

is not, nor has he ever been, a law enforcement officer.




GOVERNMENT’S SENTENCING MEMORANDUM - 6
                         Searches of the Truck, Residence, and Camper

       A search was conducted of Ehrlin’s pickup truck after his arrest. Later, his residence and

camper were searched pursuant to a federal search warrant. In the truck, under the driver’s side

floormat, directly where Ehrlin appeared to reach before entering the vehicle, SA Harvey located

a loaded 9mm handgun.




GOVERNMENT’S SENTENCING MEMORANDUM - 7
       In the driver’s side door was spray paint and markers, consistent with that used in the

vandalism and threats.




       In the center console was a red and blue LED light, handcuffs, and a “POLICE” patch.




       In the backseat, a ballistic vest was located made by “Spartan Armor,” the same brand as

the cardboard box left in the camp area near Mann Creek. The vest has velcro attachments

where the POLICE patch could be affixed to.




GOVERNMENT’S SENTENCING MEMORANDUM - 8
     At Ehrlin’s residence, agents located two .22 caliber firearms on the kitchen table. A

journal was also located that contained a “Sovereign Citizen’s Oath.” This same oath was found

written on USFS property. The journal also contained references to SAI and the statement,

“McLean, who’s got your 6? S.A.I.” Lauren McLean is the Mayor of Boise.




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GOVERNMENT’S SENTENCING MEMORANDUM- 9
       Finally, in Ehrlin’s truck, agents located a bag that contained heavy-duty zip ties, duct

tape, rubber gloves, a balaclava face mask, a flashlight, high-capacity magazines, and a bag of

7.62x39mm caliber ammunition.




GOVERNMENT’S SENTENCING MEMORANDUM - 10
       The ammunition contained writing on many of the cartridges. The writings included,

“DIE McLean,” “FUCK FEDS,” and “FUK BLM.”




       The nature of the offense is serious and Ehrlin poses a serious risk of violence to those

with political viewpoints that differ from his own radicalized beliefs. Further, Ehrlin is a

convicted sex-offender and was caught in possession of a semi-automatic rifle with a high-

GOVERNMENT’S SENTENCING MEMORANDUM - 11
capacity magazine. When confronted with his crime, Ehrlin lied about his identity and attempted

to flee from law enforcement. In doing so, Ehrlin looked directly at SA Harvey, accelerated his

truck while in reverse, and struck her.

         Furthermore, Ehrlin possessed numerous items to impersonate a police officer. These

items included an actual Boise Police badge, a red and blue LED light, a ballistic vest, a POLICE

patch, and tactical pants like those worn by Washington County Deputies. This is especially

concerning because Ehrlin also possessed heavy duty zip-ties (also known as flex cuffs), metal

handcuffs, duct tape, gloves, a black balaclava mask, and ammunition with the names of

individuals and entities on the cartridges. The combination of these items demonstrates this case

is different than the standard unlawful possession of a firearm case. These are factors not

accounted for in the Guidelines and should be reflected in the Defendant’s sentence.

         Ehrlin’s conduct on April 30, coupled with the items found in his possession,

demonstrate a serious danger to the community. Ehrlin demonstrated he is willing to use violent

force to evade capture. But the danger he poses goes well beyond that. He identifies as a

sovereign citizen and does not adhere to federal authority. Ehrlin wrote express threats about

shooting federal employees. And most significantly, Ehrlin possessed all the items needed to

impersonate a police officer, to restrain an individual, and to do serious harm to others, including

four firearms, twelve magazines, and spare rounds of ammunition. The ammunition with names

and entities on them, coupled with Ehrlin’s ideology, dispels any innocent explanation for these

items.

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GOVERNMENT’S SENTENCING MEMORANDUM - 12
       The nature and circumstances of the offense support a sentence of 115 months

imprisonment.

                            GUIDELINES CALCULATIONS

       The Probation Office correctly calculated the Guidelines in the Final Presentence Report

(PSR), with a total offense level of 26 and criminal history category of IV, yielding guidelines of

92-115 months. The evidence articulated above amply supports the enhancements. Regarding

the possession of firearms in connection with another felony offense, U.S.S.G. § 2K2.1(b)(6)(B),

Ehrlin made threats to shoot federal employees while feloniously defacing U.S. Forest Service

Property. Ehrlin was armed with two firearms, twelve magazines, and additional rounds of

ammunition upon arrest. Ehrlin fails to recognize that either “direct” or “circumstantial”


GOVERNMENT'S SENTENCING MEMORANDUM - 13
evidence “can be used to prove any fact” and that “[t]he law makes no distinction between the

weight to be given to either direct or circumstantial evidence.” NINTH CIRCUIT JURY

INSTRUCTION 6.8. See also United States v. Ramirez-Rodriquez, 552 F.2d 883, 884 (9th Cir.

1977) (“Circumstantial and testimonial evidence are indistinguishable insofar as the jury fact-

finding function is concerned, and circumstantial evidence can be used to prove any fact.”). This

case did not involve the mere presence of firearms. It involved express threats to shoot federal

employees coupled, an assault of a federal employee, and firearm possession. The firearms

“facilitated, or had the potential of facilitating,” the felony crimes of Idaho malicious injury to

property or felony depredation of U.S. Government property. U.S.S.G. § 2K2.1(b)(6)(B) App. n.

14(A).

         Furthermore, Ehrlin fled SA Harvey while fully aware that she was directly in his line of

travel and struck her with his full-size pickup truck weighing thousands of pounds. The

Guidelines provide that the enhancement for reckless endangerment during flight applies where

“the conduct was at least reckless and includes any higher level of culpability.” U.S.S.G. §

3C1.2 App. n.2. The commentary to U.S.S.G. § 2A1.4, in turn, defines reckless as a “situation in

which the defendant was aware of the risk created by his conduct and the risk was of such a

nature and degree that to disregard that risk constituted a gross deviation from the standard of

care that a reasonable person would exercise in such a situation.” U.S.S.G. § 2A1.4 App. n.1.

Ehrlin’s assault on SA Harvey falls squarely within this definition.

         Finally, when interviewed by the FBI regarding the assault, SA Harvey stated that when

Ehrlin struck her with the truck, it felt like she was punched in the chest. The Probation Office

correctly applied the Guidelines for assaulting SA Harvey.

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GOVERNMENT'S SENTENCING MEMORANDUM - 14
                                    LIE DETECTOR TESTS

       The Defendant submitted two lie detector tests for consideration with the Final PSR.

However, “The reliability of polygraph evidence is widely debated.” United States v. Givens,

767 F.2d 574, 585 (9th Cir. 1985) (citing United States v. Marshall, 526 F.2d 1349, 1360 (9th

Cir.1975), cert. denied, 426 U.S. 923 (1976). “Multiple variables may influence the results of a

polygraph test, including the motivation of the subject, his physical and mental condition, the

competence, integrity, and attitude of the operator, the wording of the relevant questions, the

appropriateness of the control questions, and the interpretation of the resulting graph.” Givens,

767 F.2d at 585 (citing United States v. Urquidez, 356 F. Supp. 1363, 1366–67 (C.D. Cal.

1973)). Furthermore, in the trial context, courts routinely exclude polygraph evidence

under Federal Rule of Evidence 403 as both unreliable and prejudicial. See, e.g., United States v.

Benavidez, 217 F.3d 720, 725 (9th Cir. 2003); see also United States v. Ramirez Robles, 386

F.3d 1234, 1245–46 (9th Cir. 2004); United States v. Bowen, 857 F.2d 1337, 1341 (9th Cir.

1988) (upholding the exclusion of evidence that a polygraph test had been taken).

       While the evidentiary rules do not apply at sentencing, the Government requests the

Court decline to consider such evidence here. Ehrlin had significant motivation to fabricate

results and minimize his criminal culpability. Furthermore, Ehrlin participated in the drafting

questions he would answer. The Court did not have the benefit of seeing Ehrlin testify to any of

these questions, nor has the Government had an opportunity to cross-examine Ehrlin. The Court

plays a significant role in sentencing hearings in making credibility determinations and Ehrlin’s

attempted use of a polygraph seeks to obfuscate that role. The Ninth Circuit has upheld a district

court’s refusal to consider polygraph results at sentencing. Givens, 767 F.2d at 586 (holding that

the “district court did not abuse his discretion in refusing to consider such evidence at




GOVERNMENT'S SENTENCING MEMORANDUM - 15
sentencing.”) The Government requests that this Court likewise refuse to consider Ehrlin’s

polygraph evidence.

                      FORENSIC MENTAL HEALTH ASSESSMENT

       Ehrlin submitted for the Court’s review a forensic mental health assessment. The Court

should decline to grant a downward departure or variance based upon this assessment for

multiple reasons. First, U.S.S.G. § 5K2.13, “Diminished Capacity,” provides that:

               A downward departure may be warranted if (1) the defendant
               committed the offense while suffering from a significantly reduced
               mental capacity; and (2) the significantly reduced mental capacity
               contributed substantially to the commission of the offense.
               Similarly, if a departure is warranted under this policy statement, the
               extent of the departure should reflect the extent to which the reduced
               mental capacity contributed to the commission of the offense.


               However, the court may not depart below the applicable guideline
               range if . . . (2) the facts and circumstances of the defendant's offense
               indicate a need to protect the public because the offense involved
               actual violence or a serious threat of violence; (3) the defendant's
               criminal history indicates a need to incarcerate the defendant to
               protect the public . . . .

       As detailed below, the Government contests the assessment that Ehrlin suffered from

diminished capacity. However, even if he did, this Guideline explains that a downward

departure is inappropriate because Ehrlin’s actions involved a serious threat of violence, and

Ehrlin’s criminal history demonstrates there is a need to protect society. Ehrlin is a convicted

sex-offender that was caught with multiple firearms including a semi-automatic rifle with high-

capacity magazines, items to impersonate a police officer, items to restrain an individual, body

armor, and ammunition stating, “DIE McLean,” “FUCK FEDS,” and “FUK BLM.” Regardless

of Ehrlin’s claims of diminished capacity, protection of society is paramount, and the Court

should not depart down from the Guideline range.




GOVERNMENT'S SENTENCING MEMORANDUM - 16
       The forensic psychologist’s report further highlights the danger posed by Ehrlin

(assuming his conclusions are true).




       Further, the forensic assessment itself is premised upon a story told by Ehrlin, days after

he had been arrested, that unidentifiable police officers blackmailed him into possessing all the

incriminating evidence in this case and into acting as a radicalized sovereign citizen that will use

violence against those with differing political views. The forensic examiner made a judgment

call that colored the entirety of his report, that is, that Ehrlin truly believed this story. However,

Ehrlin has no history of mental illness, nor did he report any of the “blackmail story” until days

after his arrest. Moreover, Ehrlin’s statement about the police badge, made on the day of his

arrest, directly contradict the blackmail story. Specifically, Ehrlin told law enforcement that he

and his mother found the Boise Police badge while out hiking. Ehrlin made no mention of being

blackmailed in any capacity, nor did he allude to it in any way. Further, his attempted flight

further belies his claim and demonstrates consciousness of guilt. Finally, the pants that Ehrlin

wore provide valuable insight as well. Ehrlin wore tactical style tan pants, similar to those worn

by Washington County Sherriff’s Deputies. The independent evidence demonstrates Ehrlin did

not suffer from delusions and acted purposefully.




GOVERNMENT'S SENTENCING MEMORANDUM - 17
       Evidence recovered from Ehrlin’s cell phone support this as well. In a text message

conversation with his mother from October 12, 2020, while talking about Black Lives Matter

protests and counter-protests, Ehrlin sent the following text messages:




These text messages are just a sampling from Ehrlin’s phone.




GOVERNMENT'S SENTENCING MEMORANDUM - 18
       The evidence recovered from Ehrlin in this case, including body armor, a semi-automatic

rifle, eight loaded high-capacity magazines, a semi-automatic pistol with four loaded magazines,

spare ammunition, and ammunition with the writing “FUK BLM” are all consistent with

preparation for the mass violence he described.




       The forensic assessment itself recognizes the troubling nature of these text messages. “A

review of numerous text messages between Mr. Ehrlin, his mother and common-law spouse

illustrate strongly anti-government views that advocated violence in graphic and extreme

statements.” (Forensic Assessment at 32.) At bottom, these text messages do not square with

the Ehrlin’s story that he was blackmailed (or thought he was blackmailed) into performing the

actions in this case. Instead, they demonstrate Ehrlin acted purposefully and deliberately based

on his hatred for the BLM movement, the federal government, and those with political

viewpoints he disagrees with.

                                        CONCLUSION

       Application of 18 U.S.C. § 3553 supports a sentence of 115 months for Ehrlin’s

commission of the crimes of Unlawful Possession of a Firearm and Assault of a Federal

Employee. The Government submits that a sentence of 115 months is sufficient, but not greater




GOVERNMENT'S SENTENCING MEMORANDUM - 19
than necessary, to accomplish the goals of sentencing, and that a lesser sentence is not supported

by application of the 18 U.S.C. § 3553(a) factors.

       Respectfully submitted this 25th day of July, 2022.


                                                     JOSHUA D. HURWIT
                                                     UNITED STATES ATTORNEY
                                                     By:


                                                     /s/ Francis J. Zebari
                                                     FRANCIS J. ZEBARI
                                                     Assistant United States Attorney




GOVERNMENT'S SENTENCING MEMORANDUM - 20
                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 25, 2022, the foregoing GOVERNMENT'S

SENTENCING MEMORANDUM was electronically filed with the Clerk of the Court using

the CM/ECF system, and that a copy was served on the following parties or counsel by:

 William Miles Pope                                   United States Mail, postage prepaid
 Federal Defender Services of Idaho Inc.              fax
 702 W. Idaho St, Suite 1000                          ECF filing
 Boise, ID 83702                                      email
 Miles_Pope@fd.org




                                                  /s/ Wendy Wheeler
                                                  Legal Assistant




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